    Case: 3:10-cr-00036-RAM-RM              Document #: 376           Filed: 03/14/12       Page 1 of 3




                    IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. THOMAS AND ST. JOHN


UNITED STATES OF AMERICA,        )
                                 )
                                 )
                   Plaintiffs,   )                     Criminal No. 2010-36
           v.                    )
                                 )
FRANCIS BROOKS, et al.,          )
                                 )
                  Defendants.    )
________________________________)

                         REPORT AND RECOMMENDATION
                   ON MOTION TO MODIFY CONDITIONS OF BAIL AND
                       TO TRAVEL FOR MEDICAL TREATMENT

        This matter is before the Court on defendant Francis Brooks’ motion 1 to modify the

conditions of his release pending sentencing, to permit him to travel to Florida for medical

evaluation. The matter was referred to the undersigned for a hearing and argument on

the motion to modify conditions of release, and such hearing took place on March 14,

2012. At that time, defendant presented (1) a letter dated March 12, 2012 from his

treating physician, Dr. Tai Hunte, regarding defendant’s condition and the need for

additional evaluation off-island (Exhibit A), 2 and (2) a copy of a confirmation of an

appointment for defendant at the Cleveland Clinic in Florida scheduled for March 21,




1
  Defendant filed his motion ex parte, apparently due to a concern regarding medical confidentiality, and he
provided a hard copy of the motion to the Government. Defendant did not receive prior permission to file
the motion on a sealed or ex parte basis, and the Court sees no reason for the motion to have been filed in
that manner. Therefore, defendant is ordered to refile the motion, within five (5) days of the date of this
Order, redacting only such information as constitutes personal identifying information, such as date of birth,
social security number, address and the like.
2
  Defendant’s counsel represented that Dr. Hunte was off-island until March 16, and was not available to
attend the hearing.
  Case: 3:10-cr-00036-RAM-RM           Document #: 376      Filed: 03/14/12   Page 2 of 3



USA v. Francis Brooks, et al.
Criminal No. 2010-36
Page 2


2012 (Exhibit B). Defendant will travel in the company of his third party custodian, Alicia

Brooks.

        The Government agreed that while it may be appropriate for defendant Brooks to

receive an evaluation of his medical condition, it is concerned that the sentencing date of

April 5, 2012 not be placed in jeopardy by such travel and evaluation.

          The Court being thus informed and the premises considered, it is hereby

recommended that the defendants’ conditions of release be modified as follows:

        1.      Defendant shall be permitted to travel to Florida to attend his March 21,

2012 appointment with Dr. Jose E. Valerio Pascua at the Cleveland Clinic.

        2.      Defendant shall be permitted to travel to Florida on March 20, 2012,

returning on March 24, 2012. Approval for any requested change in such schedule must

be obtained in advance from the Court.

        3.      Unless defendant is admitted as an inpatient, he shall remain at all times in

the company of his third-party custodian, Alicia Brooks.

        4.      Defendant shall restrict his movements to the hotel at which he will reside

while in Florida, to the Cleveland Clinic, and to travel between those two locations and the

destination airport.

        5.      Prior to departure, defendant shall provide to the Office of Probation

complete details as to where he will be staying while in Florida, the exact address and

contact information for the Cleveland Clinic, and all other information requested by the

Office of Probation.
  Case: 3:10-cr-00036-RAM-RM          Document #: 376     Filed: 03/14/12   Page 3 of 3



USA v. Francis Brooks, et al.
Criminal No. 2010-36
Page 3




        6.      The Office of Probation will coordinate with its counterpart in Florida to

provide for temporary supervision of defendant while he is in Florida.

        7.      The defendant’s current conditions of release shall resume upon his return

to the Virgin Islands.


                                    S\
                                                RUTH MILLER
                                             U.S. Magistrate Judge


        Failure to file written objections to the Report and Recommendation within
        fourteen (14) days from the date of its service shall bar an aggrieved party from
        attacking such Report and Recommendation before the assigned United States
        District Judge, 28 U.S.C. Section 636(b)(1)(B), LRCi. 72.3, 72.4.
